              Case 2:21-cv-00920-JLR Document 47 Filed 08/08/23 Page 1 of 2




 1

 2

 3

 4

 5

 6

 7
                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 8
                                      AT SEATTLE
 9

10          AUBRY MCMAHON,                                CASE NO. C21-0920JLR

11                               Plaintiff,               ORDER
                   v.
12
            WORLD VISION, INC.,
13
                                 Defendant.
14

15          Before the court is Defendant World Vision, Inc.’s (“World Vision”) motion for

16   reconsideration and/or clarification of the court’s July 24, 2023 order granting Plaintiff

17   Aubry McMahon’s motion for reconsideration. (Mot. (Dkt. # 46); see also 7/24/23 Order

18   (Dkt. # 44).) In its July 24, 2023 order, the court vacated the portion of its June 12, 2023

19   order in which it concluded that the Church Autonomy Doctrine barred Ms. McMahon’s

20   claims, granted World Vision’s motion for summary judgment, and denied Ms.

21   McMahon’s motion for partial summary judgment. (See 7/24/23 Order at 11; 6/12/23

22   Order (Dkt. # 38).) World Vision asks the court to reconsider its decision to vacate that


     ORDER - 1
                Case 2:21-cv-00920-JLR Document 47 Filed 08/08/23 Page 2 of 2




 1   portion of its June 12, 2023 order, or alternatively, to clarify the issues that the parties

 2   may raise in their renewed cross-motions for summary judgment. (See generally Mot. at

 3   1, 8.)

 4            “Motions for reconsideration are disfavored.” Local Rules W.D. Wash. LCR

 5   7(h)(1). Local Rule 7(h)(1) states that the court “will ordinarily deny such motions”

 6   unless the moving party shows (1) manifest error in the prior ruling, or (2) new facts or

 7   legal authority which could not have been brought to the attention of the court earlier

 8   through reasonable diligence. Id. Because World Vision has not made either showing,

 9   the court DENIES the portion of World Vision’s motion in which it requests

10   reconsideration of the court’s July 24, 2023 order (Mot. at 1-7).

11            As to World Vision’s request for clarification, the court DEFERS ruling on that

12   portion of World Vision’s motion (Mot. at 7-8) and DIRECTS Ms. McMahon to respond

13   to that portion of the motion (id.) by no later than Friday, August 11, 2023. Ms.

14   McMahon’s response shall be limited to 1,400 words.

15            Dated this 8th day of August, 2023.

16

17                                                      A
                                                        JAMES L. ROBART
18
                                                        United States District Judge
19

20

21

22


     ORDER - 2
